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                    UNITED STATES DISTRICT COURT
       FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                                 Eastern Division

Flava Works Entertainment, Inc., et al.
                                          Plaintiff,
v.                                                     Case No.: 1:24−cv−09725
                                                       Honorable Franklin U. Valderrama
Joel Lewitzky, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 5, 2024:


        MINUTE entry before the Honorable Jeannice W. Appenteng: Plaintiffs' motion to
amend the complaint [20] is denied without prejudice so that plaintiffs may properly refile
before the District Judge. Mailed notice. (kl, )




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